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  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


&nbsp;

&nbsp;

NO. 02-12-00367-CV 

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&nbsp;


 
  
  In the Interest of R.H.B., A Child
  
  
  &nbsp;
  
  
  &nbsp;
  
 


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&nbsp;

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&nbsp;

FROM THE 322nd
District Court OF Tarrant COUNTY

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MEMORANDUM
OPINION[1] AND
JUDGMENT

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&nbsp;

We
have considered “Appellant’s Voluntary Motion To Dismiss.”&nbsp; It is the court=s
opinion that the motion should be granted; therefore, we dismiss the appeal.&nbsp; See
Tex. R. App. P. 42.1(a)(1), 43.2(f).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Costs
of the appeal shall be paid by appellant, for which let execution
issue.&nbsp; See Tex. R. App. P. 42.1(d).

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PER
CURIAM

PANEL:&nbsp;
WALKER,
MCCOY, and MEIER, JJ.&nbsp;


&nbsp;

DELIVERED:
&nbsp;October 11, 2012









[1]See Tex. R. App. P. 47.4.







